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 8
                                UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   LAMONT ELKINS,                        )          Case No.
                                           )
12                             Plaintiff   )          COMPLAINT FOR DAMAGES
                                           )
13      v.                                 )          1.   4th Amendment Violations –
                                           )               Unlawful Search & Seizure,
14
     NOVATO POLICE DEPARTMENT;             )          2.   4th Amendment – Malicious
15   CODY FENSKE, individually; ANGEL      )               Prosecution,
     MACIAS, individually; REZA            )          3.   False Arrest,
16   POURFARHANI, individually; DERRICK )
                                                      4.   Intentional Infliction of Emotional
                                                           Distress,
17   YOUNG, individually; MARIN COUNTY )              5.   Negligent Infliction of Emotional
     DISTRICT ATTORNEY’S OFFICE; LORI )                    Distress,
18   E. FRUGOLI, individually; LEON S.     )          6.   Bane Act (CA Civil Code § 52.1), and
     KOUSHARIAN, individually; and DOES 1 )
19
     to 100.                               )
                                           )          DEMAND FOR JURY TRIAL
20
                               Defendants. )
21                                         )
                                           )
22
23
     ____________________________________
24
25          Plaintiff alleges the following:
26                                             JURISDICTION
27          1.      Counts in this action arise under 42 U.S.C. § 1983. This Court has original
28



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 1   jurisdiction pursuant to 28 U.S.C. § 1343(3). This Court also has supplemental jurisdiction over

 2   Plaintiff’s related state claims pursuant to 28 U.S.C. § 1367.

 3                                                 VENUE

 4           2.     Venue is proper in the United States District Court for the Northern District of

 5   California, pursuant to 28 U.S.C. sections 84 and 1391. The events that gave rise to this complaint

 6   occurred in Marin County in the State of California, and one or more of the defendants resides in

 7   Marin County, California.

 8                                  INTRADISTRICT ASSIGNMENT

 9           3.     The actions that gave rise to this complaint occurred in Marin County, California.

10   Assignment of this action to the San Francisco Division of this Court is appropriate according to

11   Local Rule 120(d).

12                                                PARTIES

13           4.     Plaintiff LAMONT ELKINS is an adult and a resident of the State of California.

14           5.     The NOVATO Police Department is a governmental entity responsible for the

15   actions of its Officers and is located in Marin County, CA. Plaintiff alleges that the NOVATO

16   Police Department participated in promulgating the policies and practices that led to the

17   misconduct of the individual officers and ratified the misconduct of the individual defendant

18   officers.

19           6.     The MARIN COUNTY DISTRICT ATTORNEY’S OFFICE is a governmental

20   entity responsible for the actions of its employees and Assistant District Attorneys and is located

21   in Marin County, CA. Plaintiff alleges that the MARIN COUNTY DISTRICT ATTORNEY’S

22   OFFICE participated in promulgating the policies and practices that led to the misconduct of the

23   individual prosecutors and ratified the misconduct of the individual defendant prosecutors.

24           7.     Plaintiff LAMONT ELKINS is informed and believe the following: Defendant

25   CODY FENSKE is an adult and resident of the State of California. At all times relevant herein,

26   he was an officer employed by the NOVATO Police Department and was acting under color of

27   law within the course and scope of his employment. He is being sued in his individual capacity.

28           8.     Plaintiff LAMONT ELKINS is informed and believe the following: Defendant




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 1   ANGEL MACIAS is an adult and resident of the State of California. At all times relevant herein,

 2   he was an officer employed by the NOVATO Police Department and was acting under color of

 3   law within the course and scope of his employment. He is being sued in his individual capacity.

 4          9.      Plaintiff LAMONT ELKINS is informed and believes the following: Defendant

 5   REZA POURFARHANI is an adult and resident of the State of California. At all times relevant

 6   herein, he was an officer employed by the NOVATO Police Department and was acting under

 7   color of law within the course and scope of his employment. He is being sued herein in his

 8   individual capacity.

 9          10.     Plaintiff LAMONT ELKINS is informed and believe the following: Defendant

10   DERRICK YOUNG is an adult and resident of the State of California. At all times relevant

11   herein, he was an officer employed by the NOVATO Police Department and was acting under

12   color of law within the course and scope of his employment. He is being sued in his individual

13   capacity.

14          11.     Plaintiff LAMONT ELKINS is informed and believe the following: Defendant

15   LORI E. FRUGOLI is an adult and resident of the State of California. At all times relevant herein,

16   she was the Marin District Attorney, in charge of the MARIN COUNTY DISTRICT

17   ATTORNEY’S OFFICE and was acting under color of law within the course and scope of her

18   employment. She is being sued in his individual capacity.

19          12.     Plaintiff LAMONT ELKINS is informed and believe the following: Defendant

20   LEON S. KOUSHARIAN is an adult and resident of the State of California. At all times relevant

21   herein, he was an Assistant District Attorney employed by the MARIN COUNTY DISTRICT

22   ATTORNEY’S OFFICE and was acting under color of law within the course and scope of his

23   employment. He is being sued in his individual capacity.

24          13.     Plaintiff LAMONT ELKINS is ignorant of the true names and capacities of

25   defendants sued herein as Does 1 through 100, inclusive, and therefore sue these defendants by

26   such fictitious names and capacities. Plaintiff LAMONT ELKINS is informed and believes and

27   based thereon alleges that each of the fictitiously named defendants is responsible in some manner

28   for the occurrences herein alleged, and that Plaintiff’s injuries as herein alleged were proximately




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 1   caused by the actions and/or in-actions of said Doe defendants. Plaintiff will amend this

 2   complaint to include the true identities of said Doe defendants when they are ascertained.

 3          14.     At all times mentioned, each of the defendants was acting as the agent, principal,

 4   employee, and/or employer of one or more of the remaining defendants and was, at all times

 5   herein alleged, acting within the purpose, course, and scope of such agency and/or employment for

 6   purposes of respondent superior and/or vicarious liability as to all other defendants.

 7          15.     At all times mentioned herein, the defendants, and each of them, employed, hired,

 8   trained, retained, and/or controlled the actions of all other defendants, and each of them.

 9                                                 FACTS

10          16.     Plaintiff LAMONT ELKINS is an adult male who at all relevant times resided and

11   resides in the Marin County, CA. On August 16, 2020, LAMONT ELKINS (Mr. ELKINS herein)

12   was hanging out at Mike’s Liquor Store on Grand Avenue around 9:30 pm. He was contacted by

13   Novato Police Dept. Officer Cody Fenske (Badge No. 443) (partnered at the time with Officer

14   Angel Macias – Badge No. 420) because he allegedly matched the description of a suspect in

15   armed robbery with injury that had taken place moments before a short distance away. The

16   suspect description in the Incident Report was “black male on a bicycle.” Mr. ELKINS is a black

17   male and was on a bicycle but, as was discovered subsequently, that is where the similarities

18   ended. Mr. ELKINS’s clothes were different and different colors, and his bicycle was a different

19   color and make than the victim had given to police.

20          17.     Officer Fenske called for backup and Officers Reza Pourfarhani (Badge No. 352)

21   and Derrick Young (Badge No. 460) arrived on scene to subdue and Mr. ELKINS into custody.

22   Officers then brought the robbery victim to the scene where they had detained Mr. ELKINS to see

23   if the victim could identify Mr. ELKINS as his attacker. Officer Macias recites in the Incident

24   Report that, “While on scene, (victim) positively identified (Mr. ELKINS) as the suspect. (The

25   victim) stated that he was ‘100 percent’ sure that (Mr. ELKINS) was the one that attempted to take

26   his wallet and punched him in the face causing his eye to swell and bruise.” It was later

27   discovered that the victim had said nothing of the sort.

28          18.     There was no warrant for LAMONT ELKINS’ arrest at the time.




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 1          19.     Upon viewing Mr. ELKINS for purposes of identification, the victim (who had just

 2   been mugged, beaten up, and was suffering from a head injury and a brain bleed) stated several

 3   times that he wasn’t sure whether or not Mr. ELKINS was the one who attacked him. The victim

 4   obviously needed medical care. Each time the victim said he wasn’t sure if Complainant was the

 5   one who had attacked him Officers said “Are you sure? You need to be 100% sure.” It became

 6   clear to the victim that the Officers were not going to let him get into the waiting ambulance

 7   unless he identified Mr. ELKINS as his attacker, so he did. The victim was never sure, and he

 8   never said he was 100 percent sure that Mr. ELKINS had attacked him. He later retracted the

 9   identification of Mr. ELKINS. The Defendant Officers arrested Mr. ELKINS anyway and wrote

10   an inaccurate incident report upon which the Defendant Prosecutors relied and failed to

11   investigate, ratifying the actions of the Defendant Officers.

12          20.     Mr. ELKINS was arrested, booked, charged and incarcerated at the Marin County

13   Jail for over two weeks. During his incarceration Mr. ELKINS, who suffers from a heart

14   condition, was denied access to his prescribed medications and was denied access to necessary

15   medical care and treatment relative to his heart condition.

16          21.     As would be confirmed at a later date, at the exact time the armed robbery occurred

17   Mr. ELKINS was on his cell phone “face timing” with someone and his phone was connected to

18   Wi-Fi at a different location than that of the armed robbery, irrefutable proof that Mr. ELKINS

19   was innocent. Nobody checked the phone for two weeks after Mr. ELKINS was arrested. The

20   Defendant Officers and the Defendant Prosecutors failed to conduct even a cursory investigation

21   into the facts, a failure of policies and procedures demonstrating an obvious disregard for Mr.

22   ELKINS’ Constitutional rights.

23          22.     All Officers identified herein were in the course and scope of their employment

24   with the Novato Police Department at the time of the incident. As stated previously, there are

25   circumstances under which officers are permitted to use reasonable force as a part of their job

26   responsibilities. But in this case they arrested an innocent man based on a manipulated

27   identification that led to Mr. ELKINS’s arrest and incarceration, causing Mr. ELKINS to sustain

28   personal injuries and attendant damages.




     FIRST AMENDED COMPLAINT AND JURY DEMAND                         5.
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 1          23.     The Officers involved had no warrant to arrest Mr. ELKINS yet did so anyway.

 2   They arrested Mr. ELKINS based on an inaccurate description and a manipulated identification.

 3   The tactics used that night by the Officers involved were willful and reckless and contrary to

 4   Department policies and procedures. Furthermore, the Officers involved were negligently and

 5   poorly trained, were negligently and poorly hired, were negligently and poorly supervised (both at

 6   the scene and before) and were negligently retained.

 7          24.     Additionally, the NOVATO Police Department and the Novato Police Department,

 8   and all its employees and sworn officers, were negligent in the hiring, training, selection,

 9   retention, and disciplining of the officers involved in the subject incident, as well as the officers

10   who trained the involved officers throughout their careers, from the academy to the date in

11   question.

12          25.     Mr. ELKINS was arrested, booked, charged and incarcerated at the Marin County

13   Jail for over two weeks. During his incarceration Mr. ELKINS, who suffers from a heart

14   condition, was denied access to his prescribed medications and was denied access to necessary

15   medical care and treatment relative to his heart condition. The Criminal Complaint was authored

16   and/or signed off on by Marin County District Attorney Lori E. Frugoli and Deputy District

17   Attorney Leon S. Kousharian.

18          26.     All attorneys identified herein were in the course and scope of their employment

19   with the Marin County District Attorney’s Office at the time of the incident. As stated previously,

20   there are circumstances under which District Attorneys are permitted to charge and incarcerate

21   suspects. But in this case an innocent man was arrested, charged, and incarcerated based on a

22   manipulated identification that led to Mr. ELKINS’s arrest and incarceration, causing Plaintiff to

23   sustain personal injuries and attendant damages. Further, no real investigation took place until

24   weeks later, which investigation conclusively proved Mr. ELKINS’s innocence.

25          27.     Following the above-described incident, the Officers involved wrote police reports

26   that contained incorrect, inaccurate and misleading information and that failed to include

27   exculpatory evidence about LAMONT ELKINS.

28          28.     Thereafter, the Marin County District Attorney’s Office and the Prosecutors




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 1   involved were actively involved in causing Mr. ELKINS to be criminally charged and prosecuted,

 2   charges which were ultimately dismissed outright. Mr. ELKINS was harmed by his unjust arrest

 3   and incarceration and the conduct of the Marin County District Attorney’s office was a substantial

 4   factor in causing that harm.

 5          29.     LAMONT ELKINS was prosecuted by the Marin County District Attorney’s

 6   Office. LAMONT ELKINS is informed and believes that the district attorney’s office based

 7   decisions to prosecute LAMONT ELKINS upon the misstatements, inaccuracies, and omissions of

 8   fact in the reports that were written by the defendants and each of them. The Defendant Officer’s

 9   wrongful arrest of Mr. ELKINS, and their resulting report, were then ratified the MARIN

10   COUNTY DISTRICT ATTORNEY’S OFFICE as were the actions of the Prosecutors involved.

11          30.     The prosecution of LAMONT ELKINS is ongoing and is not yet resolved.

12          31.     The tactics used by the Prosecutors involved were willful and reckless and contrary

13   to Department policies and procedures. Furthermore, the Prosecutors involved were negligently

14   and poorly trained, were negligently and poorly hired, were negligently and poorly supervised

15   (both at the scene and before) and were negligently retained.

16          32.     Additionally, the Marin County Attorney General’s Office, and all its employees,

17   were negligent in the hiring, training, selection, retention, and disciplining of the attorneys

18   involved in the subject incident, as well as the attorneys who trained the involved attorneys

19   throughout their careers.

20          POLICE CUSTOM, PRACTICE, AND POLICY (MONELL CLAIMS)

21          33.     To establish an official policy that gives rise to Monell liability, Mr. ELKINS

22   alleges that at various times the actions of Defendants: comprised a set of unconstitutional

23   customs, practices and/or policies which lead to the violation of Mr. ELKINS’ rights; constituted

24   deliberately indifferent omissions through their failure to properly train the Defendant Officers and

25   failure to have needed policies to prevent such Officer actions as wrongful arrest and intentionally

26   misleading reports and witness statements; and/or the final policy makers’ ratification of the

27   conduct underlying Mr. ELKINS’ injuries and the violation of Mr. ELKINS’ rights. Clouthier v.

28   County of Contra Costa, 591 F.3d 1232, 1249-50 (9th Cir. 2010) (synthesizing authorities),




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 1   overruled on other grounds by Castro v. City of Los Angeles, 833 F.3d 1060 (9th Cir. 2016). The

 2   unconstitutional actions and/or omissions of the individual police officers, on information and

 3   belief, were pursuant to the following customs, policies, practices and/or procedures of the

 4   NOVATO Police Department as follows:

 5          a.      To use, tolerate, or instruct the use of coercive witness identifications;

 6          b.      To engage in or tolerate unreasonable seizures and restraints;

 7          c.      To fail to institute, require, and enforce proper and adequate training, supervision,

 8   policies, and procedures concerning stops, wrongful arrests, and the use of force;

 9          e.      To hide or cover up violations of constitutional rights by any of the following:

10                  i.      By ignoring and/or failing to properly investigate and/or discipline

11                          unconstitutional or unlawful law enforcement activity; and

12                  iii.    By allowing, tolerating, and/or encouraging law enforcement officers to fail

13   to file complete and accurate reports; file false reports; make false statements; collude in report

14   writing, and/or obstruct or interfere with investigations of unconstitutional or unlawful law

15   enforcement conduct by withholding and/or concealing material information.

16          g.      To allow, tolerate, and/or encourage a ‘code of silence’ among law enforcement

17   officers and Police Department personnel, whereby an officer or member of the Police Department

18   does not provide adverse information against a fellow officer or member of the department; and

19          h.      Defendant NOVATO Police Department failed to properly hire, train, instruct,

20   monitor, supervise, evaluate, investigate, and discipline the individual officers involved herein,

21   with deliberate indifference to Mr. ELKINS’ constitutional rights.

22          34.     It is the custom, practice, and policy of the NOVATO Police Department and Does

23   1 to 20 to inadequately and improperly investigate complaints of police misconduct, thereby

24   directly and/or indirectly endorsing and encouraging such actions as the injuries inflicted upon Mr.

25   ELKINS.

26          PROSECUTOR CUSTOM, PRACTICE, AND POLICY (MONELL CLAIMS)

27          35.     To establish an official policy that gives rise to Monell liability, Mr. ELKINS

28   alleges that at various times the actions of Defendants: comprised a set of unconstitutional




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 1   customs, practices and/or policies which lead to the violation of Mr. ELKINS’ rights; constituted

 2   deliberately indifferent omissions through their failure to properly train the Defendant Officers and

 3   failure to have needed policies to prevent such Prosecutor actions; and/or the final policy makers’

 4   ratification of the conduct underlying Mr. ELKINS’ injuries and the violation of Mr. ELKINS’

 5   rights. Clouthier v. County of Contra Costa, 591 F.3d 1232, 1249-50 (9th Cir. 2010) (synthesizing

 6   authorities), overruled on other grounds by Castro v. City of Los Angeles, 833 F.3d 1060 (9th Cir.

 7   2016). The unconstitutional actions and/or omissions of the individual Prosecutors, on

 8   information and belief, were pursuant to the following customs, policies, practices and/or

 9   procedures of the MARIN COUNTY DISTRICT ATTORNEY’S OFFICE as follows:

10          a.      To use, tolerate, or instruct the failure to conduct even a cursory investigation into

11   the claims of Officers before making charging decisions;

12          b.      To use, tolerate, or instruct the failure to conduct even a cursory investigation into

13   the claims of Officers before incarcerating Defendants;

14          36.     Notwithstanding knowledge on the part of the NOVATO POLICE DEPARTMENT

15   that their officers injured Plaintiff and violated LAMONT ELKINS’S civil rights by engaging in

16   the activities alleged above, the NOVATO POLICE DEPARTMENT and the MARIN COUNTY

17   DISTRICT ATTORNEY’S OFFICE and the Prosecutors involved have an affirmative agreement

18   with the individual defendant officers’ actions and have ratified the unconstitutional and unlawful

19   acts by the individual defendant officers, taking those actions a step further by charging and

20   incarcerating Mr. ELKINS.

21                                        CLAIMS PROCEDURE

22          37.     Plaintiff LAMONT ELKINS has made the necessary claims, pursuant to California

23   Government Code § 910, to preserve the state causes of action set forth below.
                                            FIRST COUNT
24                              As To All Defendants And DOES 1-20
                (Violation of Fourth Amendment Rights – Illegal Search & Seizure)
25
                                           (42 USC § 1983)
26                           (Brought by Plaintiff LAMONT ELKINS)

27          38.     Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1

28   through 36 as though fully set forth herein.




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 1          39.     This action arises under the United States Constitution, particularly under the

 2   provisions of the Fourth Amendment to the Constitution of the United States, and under federal

 3   law, particularly Title 42 of the United States Code, § 1983.

 4          40.     Each of the acts complained of herein was committed by the Defendants, and each

 5   of them, under the color and pretense of the statutes, ordinances, regulations, customs, and usages

 6   of the State of California, the customs, practices and policies of NOVATO Police Department, and

 7   the MARIN COUNTY DISTRICT ATTORNEY’S OFFICE, and under the authority of their

 8   offices as law enforcement officers for the NOVATO Police Department, and under the authority

 9   of their offices as Prosecutors.

10          41.     The conduct of the Defendants, and each of them, deprived LAMONT ELKINS of

11   the right of the right to be secure in his person and effects against unreasonable search and seizure,

12   as secured by the Fourth Amendment to the Constitution of the United States.

13          42.     The actions of the Defendants, and each of them, were the result of policies and/or

14   customs, and/or Does 1 to 20, whose inadequacy in training the defendant Officers and

15   Prosecutors with respect to the performance of their duties, including, but not limited to, searches,

16   seizures, use of force, arrests, the charging of Defendants, and detentions, constituted a deliberate

17   indifference to citizens’ Constitutional rights leading to wrongful arrests and incarcerations such

18   as the one Mr. ELKINS endured.

19          43.     The Defendants, and each of them, knowingly and willfully conspired and agreed

20   among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved

21   conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the

22   customs, practices and policies of NOVATO Police Department which constitute a deliberately

23   indifferent omission in the Department’s customs, practices and policies, leading to injury and

24   violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant

25   Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY

26   DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the

27   Department’s customs, practices and policies, leading to injury and violations of Constitutional

28   right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved




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 1   were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT

 2   ATTORNEY’S OFFICE.44. As a direct and proximate result of the Defendants’ conduct, as

 3   alleged herein, LAMONT ELKINS suffered physical injuries, fright, shock, pain, suffering,

 4   inconvenience, anxiety, and extreme mental anguish. Accordingly, LAMONT ELKINS has

 5   suffered past and future general damages in amounts to be determined by proof at trial.

 6          45.     As a direct and proximate result of the Defendants’ conduct, LAMONT ELKINS

 7   required medical treatment, was incarcerated, and sustained a leg fracture which required surgical

 8   repair. He suffered past and future special damages in amounts to be determined by proof at trial.

 9          46.     Through their conduct, the Officers and Prosecutors involved acted maliciously and

10   oppressively, in willful and conscious disregard for LAMONT ELKINS’ rights and safety and

11   with the sole intent to harm LAMONT ELKINS. LAMONT ELKINS is entitled to punitive or

12   exemplary damages from the individual officers in an amount to be determined by proof at trial.

13          47.     As a proximate cause of the Defendants’ conduct, LAMONT ELKINS is incurring

14   attorney fees and litigation costs, including the costs of retaining experts.

15                                         SECOND COUNT
                                  As To All Defendants And DOES 1-20
16
                    (Violation of Fourth Amendment Rights - Malicious Prosecution)
17                              (Brought by Plaintiff LAMONT ELKINS)

18
            48.     Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1
19
     through 36 as though fully set forth herein.
20
            49.     This action arises under the United States Constitution, particularly under the
21
     provisions of the Fourth Amendment to the Constitution of the United States, and under federal
22
     law.
23
            50.     Each of the acts complained of herein was committed by the Defendants, and each
24
     of them, under the color and pretense of the statutes, ordinances, regulations, customs, and usages
25
     of the United States, and under the authority of their offices as law enforcement officers for the
26
     NOVATO Police Department including and based on customs, practices and policies of the City.
27
            51.     The defendants acted maliciously or for a purpose other than bringing LAMONT
28



     FIRST AMENDED COMPLAINT AND JURY DEMAND                          11.
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 1   ELKINS to justice, in that they sought to have criminal charges brought against LAMONT

 2   ELKINS to cover for their own misdeeds and to punish LAMONT ELKINS for not immediately

 3   complying with their unlawful detention, arrest, and brutality. Defendants knew that their

 4   statements, misstatements, omissions, and exaggerations would be reviewed and considered by

 5   prosecutors in deciding whether to file and/or pursue criminal charges against LAMONT

 6   ELKINS. These constitute a deliberately indifferent omission in the Department’s customs,

 7   practices and policies.

 8          52.     LAMONT ELKINS suffered deprivation of his liberty consistent with the concept

 9   of a seizure as a consequence of the legal proceedings. LAMONT ELKINS was prosecuted based

10   upon the Defendants’ misstatements and had to appear in court for hearings while the prosecution

11   proceeds. The actions of the Defendant Officers were compounded by the actions of the

12   Prosecutors involved.

13          53.     The Defendants, and each of them, knowingly and willfully conspired and agreed

14   among themselves to violate LAMONT ELKINS’ civil rights and to injure him. The Defendant

15   Officer’s wrongful of Mr. ELKINS, along with their report which led to his prosecution. The

16   actions of the Defendant Officers were compounded by the actions of the Prosecutors involved

17   who wrongfully charged and incarcerated Mr. ELKINS.

18          54.     As a direct and proximate result of the conduct of the Defendants, and each of

19   them, as alleged herein, LAMONT ELKINS suffered physical injuries, fright, shock, pain,

20   suffering, inconvenience, anxiety, and extreme mental anguish. Accordingly, he suffered past and

21   will suffer future general damages in amounts to be determined by proof at trial.

22          55.     Through their conduct, the defendants, and each of them, acted maliciously and

23   oppressively, in willful and conscious disregard for LAMONT ELKINS’ rights and safety, and

24   with the sole intent to harm him. He is entitled to punitive or exemplary damages from the

25   individual rangers in an amount to be determined by proof at trial.

26          56.     The Defendants, and each of them, knowingly and willfully conspired and agreed

27   among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved

28   conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the




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 1   customs, practices and policies of NOVATO Police Department which constitute a deliberately

 2   indifferent omission in the Department’s customs, practices and policies, leading to injury and

 3   violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant

 4   Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY

 5   DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the

 6   Department’s customs, practices and policies, leading to injury and violations of Constitutional

 7   right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved

 8   were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT

 9   ATTORNEY’S OFFICE.

10          57.      As a proximate cause of the conduct of the Defendants, and each of them, attorney

11   fees and expenses were incurred in the defense of the criminal charges. LAMONT ELKINS is

12   also incurring attorney fees and litigation costs, including the costs of retaining experts in the

13   present case.
                                             THIRD COUNT
14                                 As To All Defendants And DOES 1-20
                                   (False Arrest & False Imprisonment)
15
                                 (Brought by Plaintiff LAMONT ELKINS)
16
17          58.      Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1

18   through 36 as though fully set forth herein.

19          59.      The Defendants, and each of them, intentionally acted with the purpose of

20   confining LAMONT ELKINS against his will. LAMONT ELKINS was detained and seized by

21   the defendant officers who were at the scene. The detentions and seizures amounted to unlawful

22   arrests. Then Mr. ELKINS was wrongfully charged and incarcerated by the Prosecutors involved

23   and held in jail for two weeks.

24          60.      The arrest of LAMONT ELKINS was made without an arrest warrant. The arrest

25   was unreasonable, lacked probable cause and was based on a coerced witness

26   statement/identification. The arrest was unlawful, and the Defendants were without reasonable

27   cause to believe the arrest was lawful at the time it was made. Then Mr. ELKINS was wrongfully

28   charged and incarcerated by the Prosecutors involved and held in jail for two weeks.




     FIRST AMENDED COMPLAINT AND JURY DEMAND                          13.
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 1          61.     The Defendants, and each of them, knowingly and willfully conspired and agreed

 2   among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved

 3   conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the

 4   customs, practices and policies of NOVATO Police Department which constitute a deliberately

 5   indifferent omission in the Department’s customs, practices and policies, leading to injury and

 6   violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant

 7   Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY

 8   DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the

 9   Department’s customs, practices and policies, leading to injury and violations of Constitutional

10   right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved

11   were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT

12   ATTORNEY’S OFFICE.

13          62.     As a direct and proximate result of the Defendants’ conduct, as alleged herein,

14   LAMONT ELKINS suffered physical injuries, fright, shock, pain, suffering, and extreme mental

15   anguish. Accordingly, LAMONT ELKINS suffered past and future general damages in amounts

16   to be determined by proof at trial.

17          63.     As a direct and proximate result of the Defendants’ conduct, LAMONT ELKINS

18   required medical treatment and sustained a leg fracture which required surgical repair. He

19   suffered past and future special damages in amounts to be determined by proof at trial.

20          64.     Through their conduct, the individual officers acted maliciously and oppressively,

21   in willful and conscious disregard for LAMONT ELKINS’ rights and safety and with the sole

22   intent to harm him. LAMONT ELKINS is therefore entitled to punitive or exemplary damages

23   from the individual officers in an amount to be determined by proof at trial.
                                            FOURTH COUNT
24                                 As To All Defendants And DOES 1-20
                               (Intentional Infliction of Emotional Distress)
25
                                (Brought by Plaintiff LAMONT ELKINS)
26          65.     Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1
27   through 36 as though fully set forth herein.
28



     FIRST AMENDED COMPLAINT AND JURY DEMAND                        14.
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 1          66.     The conduct of the Defendants, and each of them, was intentional, outrageous,

 2   malicious, and done with ill will and with the intent to cause LAMONT ELKINS to suffer

 3   humiliating mental anguish, as well as emotional and physical distress.

 4          67.     The conduct of the Defendants, and each of them, was so severe and outrageous

 5   that as a proximate result LAMONT ELKINS suffered humiliation, mental anguish, and emotional

 6   and physical distress. He has exhibited manifestations of the humiliation, mental anguish, and

 7   emotional distress he suffered, including, but not limited to, sleeplessness, anxiety, nightmares,

 8   and ruminating on the events.

 9          68.     The Defendants, and each of them, knowingly and willfully conspired and agreed

10   among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved

11   conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the

12   customs, practices and policies of NOVATO Police Department which constitute a deliberately

13   indifferent omission in the Department’s customs, practices and policies, leading to injury and

14   violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant

15   Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY

16   DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the

17   Department’s customs, practices and policies, leading to injury and violations of Constitutional

18   right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved

19   were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT

20   ATTORNEY’S OFFICE.

21          69.     As a direct and proximate result of the Defendants’ conduct, as alleged herein,

22   LAMONT ELKINS suffered physical injuries, fright, shock, pain, suffering, and/or extreme

23   mental anguish. Accordingly, he has suffered past and future general damages in amounts to be

24   determined by proof at trial.

25          70.     As a direct and proximate result of the Defendants’ conduct, LAMONT ELKINS

26   required medical treatment. He suffered past and future special damages in amounts to be

27   determined by proof at trial.

28          71.     Through their conduct, the individual officers acted maliciously and oppressively,




     FIRST AMENDED COMPLAINT AND JURY DEMAND                         15.
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 1   in willful and conscious disregard for LAMONT ELKINS’ rights and safety and with the sole

 2   intent to harm him. LAMONT ELKINS is therefore entitled to punitive or exemplary damages

 3   from the individual officers in an amount to be determined by proof at trial.

 4                                           FIFTH COUNT
                                  As To All Defendants And DOES 1-20
 5                              (Negligent Infliction of Emotional Distress)
 6                              (Brought by Plaintiff LAMONT ELKINS)

 7
            72.     Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1
 8
     through 36 as though fully set forth herein.
 9
            73.     The conduct of the Defendants, and each of them, negligently caused LAMONT
10
     ELKINS to suffer humiliating mental anguish, as well as emotional and physical distress.
11
            74.     The conduct of the Defendants, and each of them, was so severe and outrageous
12
     that as a proximate result LAMONT ELKINS suffered humiliation, mental anguish, and emotional
13
     and physical distress. He has exhibited manifestations of the humiliation, mental anguish, and
14
     emotional distress he suffered, including, but not limited to, sleeplessness, anxiety, nightmares,
15
     and ruminating on the events.
16
            75.     The Defendants, and each of them, knowingly and willfully conspired and agreed
17
     among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved
18
     conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the
19
     customs, practices and policies of NOVATO Police Department which constitute a deliberately
20
     indifferent omission in the Department’s customs, practices and policies, leading to injury and
21
     violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant
22
     Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY
23
     DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the
24
     Department’s customs, practices and policies, leading to injury and violations of Constitutional
25
     right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved
26
     were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT
27
     ATTORNEY’S OFFICE.
28



     FIRST AMENDED COMPLAINT AND JURY DEMAND                         16.
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 1          76.     As a direct and proximate result of the Defendants’ conduct, as alleged herein,

 2   LAMONT ELKINS suffered physical injuries, fright, shock, pain, suffering, and/or extreme

 3   mental anguish. Accordingly, he has suffered past and future general damages in amounts to be

 4   determined by proof at trial.

 5          77.     Through their conduct, the individual officers acted maliciously and oppressively,

 6   in willful and conscious disregard for LAMONT ELKINS’ rights and safety and with the sole

 7   intent to harm him. He is, therefore, entitled to punitive or exemplary damages from the

 8   individual officers in an amount to be determined by proof at trial.
                                              SIXTH COUNT
 9                                 As To All Defendants And DOES 1-20
                                  (Bane Act – California Civil Code § 52.1)
10
                                 (Brought by Plaintiff LAMONT ELKINS)
11          78.     Plaintiff LAMONT ELKINS incorporates, herein by reference, paragraphs 1
12   through 36 as though fully set forth herein.
13          79.     In performing the actions alleged above, the Defendants, and each of them,
14   interfered by threats, intimidation, violence, or coercion with LAMONT ELKINS’ exercise or
15   enjoyment of rights secured by the Constitution or laws of the United States and/or the rights
16   secured by the Constitution or laws of the State of California. These laws include, but are not
17   limited to, the first, fourth, and fourteenth amendments to the United States Constitution; Article
18   1, sections 1, 2, 13 and 17 of the California Constitution; and California Civil Code § 43.
19          80.     The Defendants, and each of them, knowingly and willfully conspired and agreed
20   among themselves to violate LAMONT ELKINS’ civil rights and to injure him.
21          81.     The Defendants, and each of them, knowingly and willfully conspired and agreed
22   among themselves to falsely arrest LAMONT ELKINS. The Officers and Prosecutors involved
23   conspired to injure LAMONT ELKINS. The Defendant Officers actions were based on the
24   customs, practices and policies of NOVATO Police Department which constitute a deliberately
25   indifferent omission in the Department’s customs, practices and policies, leading to injury and
26   violations of Constitutional right such as those suffered by Mr. ELKINS. The Defendant
27   Prosecutors actions were based on the customs, practices and policies of MARIN COUNTY
28



     FIRST AMENDED COMPLAINT AND JURY DEMAND                        17.
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 1   DISTRICT ATTORNEY’S OFFICE which constitute a deliberately indifferent omission in the

 2   Department’s customs, practices and policies, leading to injury and violations of Constitutional

 3   right such as those suffered by Mr. ELKINS. The actions of the Officers and Prosecutors involved

 4   were ratified by the NOVATO Police Department and the MARIN COUNTY DISTRICT

 5   ATTORNEY’S OFFICE.

 6          82.     As a direct and proximate result of the Defendants’ conduct, LAMONT ELKINS

 7   required medical treatment sustained a leg fracture which required surgical repair. He suffered

 8   past and future special damages in amounts to be determined by proof at trial.

 9          83.     Through their conduct, the individual officers acted maliciously and oppressively,

10   in willful and conscious disregard for LAMONT ELKINS’S rights and safety and with the sole

11   intent to harm him. He is, therefore, entitled to punitive or exemplary damages from the

12   individual officers in an amount to be determined by proof at trial.

13          84.     As a proximate cause of the Defendants’ conduct, LAMONT ELKINS is incurring

14   attorney fees and litigation costs.

15          85.     Defendant’s violation of Plaintiff’s rights as guaranteed by California Civil Code

16   section 52.1 entitles LAMONT ELKINS to compensatory and punitive damages, treble damages,

17   as well as attorney fees, all of which are provided for in California Civil Code sections 52, et seq.,

18   and are requested, herein.

19                                                 PRAYER

20          Wherefore, Plaintiff pray for judgment against the Defendants as follows:

21   First Count.

22          1.      Past and future general damages, including, but not limited to, pain and suffering,

23                  and emotional distress, in an amount to be determined according to proof at trial;

24          2.      Past and future special damages, including, but not limited to, medical and related

25                  expenses as well as property damage, in an amount to be determined according to

26                  proof at trial;

27          3.      Costs of suit incurred herein, including expert costs and fees;

28          4.      Punitive or exemplary damages against the individual defendant officers, in an




     FIRST AMENDED COMPLAINT AND JURY DEMAND                         18.
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 1                  amount to be determined according to proof at trial;

 2         5.       Attorney fees; and

 3         6.       For such other and further relief as the court may deem proper.

 4   Second Count

 5         1.       Past and future general damages, including, but not limited to, pain and suffering,

 6                  and emotional distress, in an amount to be determined according to proof at trial;

 7         2.       Past and future special damages, including, but not limited to, medical and related

 8                  expenses as well as property damage, in an amount to be determined according to

 9                  proof at trial;

10         3.       Costs of suit incurred herein, including expert costs and fees;

11         4.       Punitive or exemplary damages against the individual defendant officers, in an

12                  amount to be determined according to proof at trial;

13         5.       Attorney fees; and

14         6.       For such other and further relief as the court may deem proper.

15   Third Count

16         1.       Past and future general damages, including, but not limited to, pain and suffering,

17                  and emotional distress, in an amount to be determined according to proof at trial;

18         2.       Past and future special damages, including, but not limited to, medical and related

19                  expenses as well as lost educational pursuits, and travel expenses to hearings, in an

20                  amount to be determined according to proof at trial;

21         3.       Costs of suit incurred herein, including expert fees and costs;

22         4.       Punitive or exemplary damages against the individual defendant officers, in an

23                  amount to be determined according to proof at trial;

24         5.       Attorney fees; and

25         6.       For such other and further relief as the court may deem proper.

26   Fourth Count

27         1.       Past and future general damages, including, but not limited to, pain and suffering,

28                  and emotional distress, in an amount to be determined according to proof at trial;




     FIRST AMENDED COMPLAINT AND JURY DEMAND                        19.
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 1         2.      Past and future special damages, including, but not limited to, medical and related

 2                 expenses as well as lost income and property damage, in an amount to be

 3                 determined according to proof at trial;

 4         3.      Costs of suit incurred herein;

 5         4.      Punitive or exemplary damages against the individual defendant officers, in an

 6                 amount to be determined according to proof at trial; and

 7         5.      For such other and further relief as the court may deem proper.

 8   Fifth Count

 9         1.      Past and future general damages, including, but not limited to, pain and suffering,

10                 and emotional distress, in an amount to be determined according to proof at trial;

11         2.      Past and future special damages, including, but not limited to, medical and related

12                 expenses as well as lost educational pursuits, in an amount to be determined

13                 according to proof at trial;

14         3.      Costs of suit incurred herein;

15         4.      Punitive or exemplary damages against the individual defendant officers, in an

16                 amount to be determined according to proof at trial; and

17         5.      For such other and further relief as the court may deem proper.

18   Sixth Count

19         1.      Past and future general damages, including, but not limited to, pain and suffering,

20                 and emotional distress, in an amount to be determined according to proof at trial;

21         2.      Past and future special damages, including, but not limited to, medical and related

22                 expenses as well as lost educational pursuits and property damage, in an amount to

23                 be determined according to proof at trial;

24         3.      Costs of suit incurred herein, including expert fees and costs;

25         4.      Punitive or exemplary damages against the individual defendant officers, in an

26                 amount to be determined according to proof at trial;

27         5.      Treble damages;

28         6.      Attorney fees; and




     FIRST AMENDED COMPLAINT AND JURY DEMAND                       20.
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